     Case 8:19-cv-00772-VMC-JSS Document 135-4 Filed 01/31/20 Page 1 of 3 PageID 2889


                                                                                   Jenn B <jsb.bcyc@gmail.com>



Fwd: Script
5 messages

John McLeod <jmcleodfl@gmail.com>                                                      Fri, Mar 1, 2019 at 1:41 PM
To: Nancy May-Hach <secretary@sailbcyc.org>



 ---------- Forwarded message ---------
 From: John McLeod <jmcleodfl@gmail.com>
 Date: Thu, Feb 28, 2019 at 7:31 PM
 Subject: Re: Script
 To: Doug Fuller <dougfuller@tampabay.rr.com>


 Try this version

 On Thu, Feb 28, 2019 at 6:55 PM Doug Fuller <dougfuller@tampabay.rr.com> wrote:

   John,

   I cannot open your ﬁle. Can you email it to me in at ‘Word” document.

   Thanks,

   Doug



   From: John McLeod [mailto:jmcleodfl@gmail.com]
   Sent: Thursday, February 28, 2019 6:45 PM
   To: dougfuller@tampabay.rr.com
   Subject: Script



   I made some minor changes attached my revision.

                                                                               EXHIBIT 27
      Telephone calling script.docx
      16K


Doug Fuller <dougfuller@tampabay.rr.com>                                               Fri, Mar 1, 2019 at 5:08 PM
To: secretary@sailbcyc.org


 Here is what Lee had to say.

 Doug



 From: Lee Nell [mailto:leenell3@gmail.com]
 Sent: Friday, March 01, 2019 5:04 PM
   Case 8:19-cv-00772-VMC-JSS Document 135-4 Filed 01/31/20 Page 2 of 3 PageID 2890
To: Doug Fuller
Subject: Re: FW: Script



Well, you guys decide what you want to do and how. I strongly
believe we need to mention the lease, the fact that the club is
dead if we don't get one, and that she (SR) is an impediment to
our ability to get a lease we can live with.


Lee

On Fri, Mar 1, 2019 at 4:08 PM Doug Fuller <dougfuller@tampabay.rr.com> wrote:

  I talked to Jenn B. She is very knowledgeable about this type things. She suggested we need to cut the 4 minute
  presenta on to about 1 minute.

  She also suggested we talk about only one subject. The subject would be her dis-honesty with the City and us.

  She is going to take a be er look and will send here results to me. I will sent these on to her as soon as she makes
  her sugges ons.

  This will probably be the ﬁrst part of the week.

  Doug



  From: Lee Nell [mailto:leenell3@gmail.com]
  Sent: Friday, March 01, 2019 2:27 PM
  To: Doug Fuller
  Subject: Re: FW: Script



  I did some editing. See what you and John think of it, and if it's
  ok with you guys, please pass it along to Nick.


  Lee

  On Fri, Mar 1, 2019 at 11:50 AM Doug Fuller <dougfuller@tampabay.rr.com> wrote:

     Lee,

     John said he made a few changes, but did not send a version showing the changes.

     Anyway, please look this over and make any suggested changes and I will then send it on to Nick.
     [Quoted text hidden]
     Case 8:19-cv-00772-VMC-JSS Document 135-4 Filed 01/31/20 Page 3 of 3 PageID 2891

Jenn B <jsb.bcyc@gmail.com>                                                                        Sat, Mar 2, 2019 at 9:30 PM
To: Doug Fuller <dougfuller@tampabay.rr.com>

 After the collective conversation last night, I believe that this script needs to be scrapped for a new one. The new one
 needs to follow whatever is presented in the motion to expel (which hasn't been written yet) which will also include the list
 of violations as back-up documentation (including a timeline).

 This would then follow the basic principle of "one voice" - we all need to speak as one - and it will eliminate any of the
 "well, this person said this, and that person said that..." and will prevent any equivocating. I recommend that the script be
 developed in parallel with the motion to expel since they should mirror each other. I believe that Lee and Nick are already
 working towards this anyway, but please feel free to talk to Lee, John, and/or Nick.

 I'm happy to help wordsmith this but since it's already heading down the right path, it makes sense to ask the group of
 people who are working on the one, to also work on the other. :-)

 ----
 Jenn Buckley
 jsb.bcyc@gmail.com
 (813) 323-5852

 [Quoted text hidden]



Doug Fuller <dougfuller@tampabay.rr.com>                                                           Sun, Mar 3, 2019 at 1:17 PM
To: Jenn B <jsb.bcyc@gmail.com>


 Jenn,

 I agree with what you are saying.

 Can you please pass this on to Nick, as he is the one that will make it happen.

 Thanks,

 Doug
 [Quoted text hidden]



Jenn B <jsb.bcyc@gmail.com>                                                                        Sun, Mar 3, 2019 at 8:55 PM
To: commodore@sailbcyc.org

 FYI -

 Doug and John approached me about this on Friday afternoon. Please see my comments below to Doug: I think this
 needs to go to Lee and whoever else is working on the "prelude" and timeline to ensure that everything is in lockstep. I'm
 willing to help if needed.

 ----
 Jenn Buckley
 jsb.bcyc@gmail.com
 (813) 323-5852


 [Quoted text hidden]


       Telephone calling script.docx
       16K
